 Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 1 of 14 PageID 1565


                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

VeroBlue Farms USA, Inc.,             §
                                      §
       Plaintiff,                     §   No. 3:19-cv-00764-L
                                      §
       v.                             §
                                      §
Leslie A. Wulf, Bruce A. Hall,        §
James Rea, John E. Rea, and           §
Keith Driver,                         §
                                      §
       Defendants.                    §
______________________________________________________________________________

                       APPENDIX IN SUPPORT OF
   NON-PARTIES SNB FARM PARTNERSHIP, GRACE NELSON, JEFF
 NELSON, JERITA NELSON, KORINNE NELSON, AND MARK NELSON’S
    MOTION TO SEVER AND TRANSFER THEIR MOTION TO QUASH
  SUBPOENAS TO THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF IOWA
_____________________________________________________________________________




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        Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 1 of 6
  Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 2 of 14 PageID 1566


                    IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION


VeroBlue Farms USA, Inc.,

      Plaintiff,                               Case No. 4:19-mc-00017-CFB

      v.

Leslie A. Wulf, Bruce A. Hall,
James Rea, John E. Rea, and
Keith Driver,

      Defendants.


  NON-PARTIES SNB FARM PARTNERSHIP, GRACE NELSON, JEFF
 NELSON, JERITA NELSON, KORINNE NELSON, AND MARK NELSON’S
    MOTION TO QUASH SUBPOENAS OR, IN THE ALTERNATIVE,
               MOTION FOR PROTECTIVE ORDER


      Non-Parties SNB Farm Partnership (“SNB”), Grace Nelson, Jeff Nelson,

Jerita Nelson, Korinne Nelson, and Mark Nelson (collectively “SNB Non-Parties”)

jointly move the Court to quash the subpoenas issued by Plaintiff VeroBlue Farms

USA, Inc. (“VBF”) or, in the alternative, for entry of a protective order. In support of

this motion, the SNB Non-Parties state as follows:

      1.     This litigation was originally pending the United States District Court

for the Northern District of Iowa, Case No. 18-cv-3047. The complaint [Dkt. No. 1]

was filed on July 31, 2018.

      2.     On February 15, 2019, VBF issued subpoenas duces tecum to the SNB

Non-Parties. (The subpoenas are included in Exhibit A, attached hereto.) Although



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                                                                                 App. 1
          Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 2 of 6
    Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 3 of 14 PageID 1567


the litigation was pending in the Northern District of Iowa, and the SNB Non-

Parties are located in the Northern District of Iowa (as explained below), the “place

of compliance” (see Fed. R. Civ. P. 45(c)) for the subpoenas was in the Southern

District of Iowa.

       3.    On March 1, 2019, the SNB Non-Parties timely filed a joint Motion to

Quash or, in the Alternative, Motion for Protective Order (“Motion to Quash”) in the

Northern District of Iowa [Dkt. No. 41].1 Because the SNB Non-Parties reside in

Hamilton and Webster Counties, Iowa, the Northern District of Iowa had personal

jurisdiction over the SNB Non-Parties.

       4.    While the Motion to Quash was pending, the Court transferred the

case to the United States District Court for the Northern District of Texas [Dkt.

No. 50], a court which is neither the “place of compliance” nor a court with personal

jurisdiction over the SNB Non-Parties. Following transfer, the original action was

renumbered to N.D. Tex. Case No. 3:19-cv-00764-L. In transferring the case, the

Court did not make a finding that “exceptional circumstances” exist under Rule

45(f) to transfer the Motion to Quash to the Northern District of Texas, nor was that

issue presented to the Court. [See Dkt. No. 50.]




1 A copy of the SNB Non-Parties’ March 1, 2019 Motion to Quash, including exhibits
thereto, is attached as Exhibit A and incorporated herein. A copy of VBF’s
March 15, 2019 resistance including exhibits thereto [Dkt. No. 44] is attached as
Exhibit B. A copy of the SNB Non-Parties’ March 22, 2019 reply brief [Dkt. No. 49]
is attached as Exhibit C and incorporated herein.

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                                                                              App. 2
        Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 3 of 6
  Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 4 of 14 PageID 1568


      5.     Indeed, “exceptional circumstances” are not present here. The court in

International Controls and Measurements Corp. v. Honeywell Int’l, Inc., 2018 WL

4994189 (D. Minn. Nov. 15, 2018) (denying Rule 45(f) motion to transfer) explained:

      Transfer is not favored, and “[t]he prime concern should be avoiding
      burdens on local nonparties subject to subpoenas” Advisory Committee
      Notes to the 2013 Amendment, Federal Rule of Civil Procedure 45(f).
      Nor should a court considering transfer assume that “the issuing court
      is in a superior position to resolve subpoena-related motions.” Id.
      Exceptional circumstances contemplated by the rule include “when the
      court has already ruled on issues presented by the motion or the same
      issues are likely to arise in discovery in many districts.” Id.

International Controls, at *2. See also Warkins v. Piercy, 2016 WL 3683010 (E.D.

Mo. July 12, 2016) (denying Rule 45(f) motion to transfer).

      6.     No party to this case has met its burden to make that showing. See

International Controls, at *2 (“It is the burden of the proponent of transfer to

demonstrate that these exceptional circumstances exist.”).

      7.     SNB is a resident and citizen of the State of Iowa, with its partners

residing in Hamilton and Webster Counties, both of which are in Northern District

of Iowa’s Central Division. (See April 13, 2019 Decl. of Jeff Nelson, attached hereto

as Exhibit D.) VBF has not met its burden under Rule 45(f) to show that

“exceptional circumstances” require that the Motion to Quash be adjudicated in the

Northern District of Texas with respect to SNB. In fact, the United States District

Court for the Northern District of Texas lacks personal jurisdiction over SNB.

      8.     Grace Nelson is a resident and citizen of Hamilton County, Iowa. (See

April 13, 2019 Decl. of Grace Nelson, attached hereto as Exhibit E.) VBF has not

met its burden under Rule 45(f) to show that “exceptional circumstances” require


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                                                                                 App. 3
        Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 4 of 6
  Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 5 of 14 PageID 1569


that the Motion to Quash be adjudicated in the Northern District of Texas with

respect to Grace Nelson. In fact, the United States District Court for the Northern

District of Texas lacks personal jurisdiction over Grace Nelson.

      9.     Jeff Nelson is a resident and citizen of Hamilton County, Iowa. (See

April 13, 2019 Decl. of Jeff Nelson, attached hereto as Exhibit D.) VBF has not met

its burden under Rule 45(f) to show that “exceptional circumstances” require that

the Motion to Quash be adjudicated in the Northern District of Texas with respect

to Jeff Nelson. In fact, the United States District Court for the Northern District of

Texas lacks personal jurisdiction over Jeff Nelson.

      10.    Jerita Nelson is a resident and citizen of Hamilton County, Iowa. (See

April 14, 2019 Decl. of Jerita Nelson, attached hereto as Exhibit F.) VBF has not

met its burden under Rule 45(f) to show that “exceptional circumstances” require

that the Motion to Quash be adjudicated in the Northern District of Texas with

respect to Jerita Nelson. In fact, the United States District Court for the Northern

District of Texas lacks personal jurisdiction over Jerita Nelson.

      11.    Korinne Nelson is a resident and citizen of Hamilton County, Iowa.

(See April 14, 2019 Decl. of Korinne Nelson, attached hereto as Exhibit G.) VBF

has not met its burden under Rule 45(f) to show that “exceptional circumstances”

require that the Motion to Quash be adjudicated in the Northern District of Texas

with respect to Korinne Nelson. In fact, the United States District Court for the

Northern District of Texas lacks personal jurisdiction over Korinne Nelson.




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                                                                               App. 4
        Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 5 of 6
  Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 6 of 14 PageID 1570


      12.    Mark Nelson is a resident and citizen of Hamilton County, Iowa. (See

April 13, 2019 Decl. of Mark Nelson, attached hereto as Exhibit H.) VBF has not

met its burden under Rule 45(f) to show that “exceptional circumstances” require

that the Motion to Quash be adjudicated in the Northern District of Texas with

respect to Mark Nelson. In fact, the United States District Court for the Northern

District of Texas lacks personal jurisdiction over Mark Nelson.

      13.    Pursuant to Local Rule 7(d), a brief was submitted with the timely

Motion to Quash. [See Dkt. No. 41-1, included as part of Exhibit A hereto].

      14.    To the extent Local Rule 7(k) applies to non-parties, Local Rule 7(k)

was satisfied as previously discussed. (See Exhibits A and C.)

      WHEREFORE, for the reasons articulated previously and incorporated

herein (see Exhibits A and C), the SNB Non-Parties move the Court to quash the

subpoenas or, alternatively, enter a protective order, and to grant the SNB Non-

Parties any further relief the Court deems just.




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                                                                              App. 5
        Case 4:19-mc-00017-CFB Document 1 Filed 04/16/19 Page 6 of 6
  Case 3:19-cv-00764-X Document 77 Filed 04/17/19 Page 7 of 14 PageID 1571


Dated: April 16, 2019                       /s/ David M. Caves
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                                      ATTORNEYS FOR GRACE NELSON,
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                                      NELSON, KORINNE NELSON, AND SNB
                                      FARMS PARTNERSHIP




                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on April 16, 2019, a true and correct

copy of the foregoing document was served electronically on all persons who receive

electronic notice through the Court’s CM/ECF system.

                                            /s/Chanda Clark




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                                                                            App. 6
Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 8 of 14 PageID 1572




                    SOUTHERN DISTRICT OF IOWA




                                                                     App. 7
Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 9 of 14 PageID 1573




                                                                     App. 8
Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 10 of 14 PageID 1574




                     SOUTHERN DISTRICT OF IOWA




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Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 11 of 14 PageID 1575




                    SOUTHERN DISTRICT OF IOWA




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       Case 3:19-cv-00764-X Document 77 Filed 04/17/19         Page 12 of 14 PageID 1576



                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION


     VeroBlue Farms USA, Inc.,

           Plaintiff,                              Case No. --------

           V.

     Leslie A. Wulf, Bruce A. H;all,
     James Rea, John E. Rea, and
     Keith Driver,

           Defendants.


                          DECLARATION OF KORINNE NELSON


            Pursuant to 28 U.S.C. § 1746, I declare as follows:

            1.    My name is Korinne Nelson. I am over the age of 18 and have

     personal knowledge of the facts stated herein.

            2.    I am a resident and citizen of Hamilton County, Iowa.

            3.    I am not a resident or citizen of the State of Texas.



           I declare under penalty of perjury that the foregoing is true and correct.



     Executed on April /  3,, 2019
                                                   Korrine Nelson
                                                   iti,;fl(le_




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Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 13 of 14 PageID 1577




                      SOUTHERN




                                                                     App. 12
Case 3:19-cv-00764-X Document 77 Filed 04/17/19   Page 14 of 14 PageID 1578




                                                                     App. 13
